                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS



 JILL LEPORE

                Petitioner,                         Miscellaneous Action No. 18-mc-91539-ADB

 v.

 UNITED STATES OF AMERICA,

                Respondent.


          MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS

       After the National Archives denied her request for access to sealed records relating to the

1971 Boston Grand Jury Investigations of the Pentagon Papers, Jill Lepore (Petitioner) filed the

Petition to ask the Court to use its “inherent authority” to unseal those records. ECF No. 3 at 2.

Petitioner contends that “disclosure would fill a significant gap in the public’s understanding of

the Pentagon Papers episode and contribute to contemporary debates over press freedom and

national security.” Id.

       The Court should deny the Petition. As the D.C. Circuit recently held in rejecting the same

legal theory Petitioner advances here, nothing in the text, history, or purpose of Fed. R. Crim. P.

6(e) (Rule 6(e)) supports her argument that this Court has “inherent authority” to unseal

historically significant grand jury records or disclose any other matter that does not fall within any

of the enumerated exceptions in Rule 6(e). McKeever v. Barr, 920 F.3d 842, 845 (D.C. Cir. 2019).

Nevertheless, should the Court conclude it has authority to order the disclosure of historically

significant records, disclosure would be inappropriate because Petitioner’s request is not structured

to cover only the needed material. For these reasons, this Court should dismiss this case.
                                      Relevant Allegations

       Petitioner is a historian and journalist. ECF No. 4, ¶ 1. Currently, she is writing an article

about the 1971 Boston grand juries and a book about Simulmatics, a data firm that undertook

significant research in Vietnam. Id. ¶ 8. Petitioner alleges that scholar Samuel Popkin’s struggles

with the 1971 Boston grand jury will help her understand the relationship of the firm and its

personnel to the Pentagon Papers controversy. ECF No. 4, ¶ 8. The First Circuit described those

struggles in affirming a district court’s order holding Popkin in contempt for refusing to answer

questions asked by the grand jury. U.S. v. Doe, 460 F. 2d 328 (1st Cir. 1972).

       In connection with such work, Petitioner has asked the Court to unseal all of the records of

two federal grand juries convened in Boston, Massachusetts, in 1971 to investigate the copying

and release of the Pentagon Papers. Id. ¶ 1; see ECF No. 3 at 2; ECF No. 4, ¶ 1. She asks for “all

documents chronicling, concerning, and relating to the 1971 Boston grand juries.” ECF No. 4,

¶ 48. She “would like to see the records of this grand jury because it constitutes a landmark in the

history of the federal government’s willingness to investigate and prosecute dissidents, scholars,

journalists, and anyone else suspected of involvement with the release and publication of classified

government material.” ECF No. 4, ¶ 9. Petitioner believes that unsealing the records could answer

questions regarding why the investigations were opened and closed, whether the government

engaged in illegal wiretapping, and what evidence was used to question Popkin. Id.

       Popkin has submitted a declaration in support of the petition. See ECF No. 10. So have

various others who had ties to those and similar proceedings. See ECF No. 5 (Noam Chomsky);

ECF No. 6 (Daniel Ellsberg); ECF No. 7 (Richard Falk); ECF No. 8 (Mike Gravel); ECF No. 9

(Stewart Perry); ECF No. 11 (Leonard S. Rodberg); ECF No. 12 (Howard Webber).




                                                 2
                                              Argument

   I.       The Court does not have inherent authority to unseal the requested records.

        It is undisputed that nothing in the text of Fed. R. Crim. P. 6(e) authorizes courts to disclose

grand jury records for the purposes of historical or academic interest. And the First Circuit has

never addressed the issue of whether a court has inherent authority to disclose grand jury material

for reasons other than those listed in Fed. R. Crim. P. 6(e)(3), which contains the recognized

exceptions to the general rules of grand jury secrecy. The First Circuit has recognized, however,

that the grand jury “serves as a kind of buffer or referee between the Government and the people,”

is not an arm of the district court, and remains functionally and constitutionally at arm’s length

from the judicial branch. In re U.S., 441 F.3d 44, 61 (1st Cir. 2006). The First Circuit also has

never authorized a disclosure that was unconnected from a judicial proceeding or the enforcement

of the criminal laws. And its jurisprudence indicates that disclosure in general, even when

contemplated by Rule 6(e), should be narrowly tailored.

        Nevertheless, Petitioner asks this Court to hold that a district court has the power to order

the disclosure of historically significant records simply because those records are interesting. This

Court should decline. As the D.C. Circuit recently held, nothing in the text or history of Rule 6(e)

suggests that disclosures are authorized for historically significant events or that a court has power

to order a disclosure that is not specifically listed in Rule 6(e)(3). McKeever, 920 F.3d at 845.

And the Supreme Court has held that federal courts do not have inherent powers to develop rules

that circumvent or conflict with the rules of criminal procedure. Id.; see, e.g., Carlisle v. U.S.,

517 U.S. 416, 426 (1996). Indeed, both the Supreme Court and the First Circuit have consistently

recognized that secrecy is integral to the purpose and function of the grand jury and that

disclosures, even when permissible under Rule 6(e), should not be routine.



                                                   3
    A. Secrecy is integral to the purpose and function of the grand jury.

        The grand jury is an English institution that is older than our country itself. Costello v.

U.S. 350 U.S. 359, 362 (1956). It “provide[d] a fair method for instituting criminal proceedings

against persons believed to have committed crimes.” Id. The English grand jury accomplished

this goal by staffing itself with laypeople and dispensing with rigid procedural and evidentiary

rules so that grand jurors “could act on their own knowledge” and reach their own conclusions “on

such information as they deemed satisfactory.” Id. In England, it “acquired an independence . . .

free from control by the Crown or judges.” Id.

        The early colonists brought the grand jury with them from England, and the Founding

Fathers included it in the Fifth Amendment to the Constitution, which provides that all federal

prosecutions must be instituted by either presentments or indictments by a grand jury. Id.; see

U.S. Const. amend. V. Because a “Grand Jury” is mentioned in the Bill of Rights, and not in the

body of the Constitution, “[i]t has not been textually assigned . . . to any of the branches described

in the first three Articles. It is a constitutional fixture in its own right.” U.S. v. Williams, 504 U.S.

36, 47 (1992) (citations & internal quotation marks omitted).

        The First Circuit has described the relationship between the District Court, the grand jury,

and the Prosecution in the following manner:

        The grand jury, classically, is meant to be an independent check on the ability of the
        government to bring criminal charges against individuals. It serves as a kind of buffer or
        referee between the Government and the people, protecting . . . citizens against unfounded
        criminal prosecutions. The grand jury also has another role, as an investigatory and
        accusatory body.

        The federal grand jury has not been textually assigned to any of the three branches of
        federal government. The institution is not mentioned in the body of the Constitution, but
        in the Bill of Rights. It is thus a constitutional fixture in its own right; it is not an arm of
        the district court. Indeed, the whole theory of its function is that it belongs to no branch of
        the institutional Government. Thus, the grand jury remains functionally and
        constitutionally at arm's length from the judicial branch.


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In re U.S., 441 F.3d at 61 (brackets, quotation marks, & citations omitted).

       Indeed, grand jury proceedings in England were secret, and the Founders imported the rule

of secrecy along with the institution. “[T]he proper functioning of our grand jury system depends

upon the secrecy of grand jury proceedings.” Douglas Oil Co. of California v. Petrol Stops

Northwest, 441 U.S. 211, 218 (1979) (Douglas Oil); cf. U.S. v. Gurry, 2019 WL 247205, * 2 (D.

Mass. Jan. 17, 2019). Secrecy encourages witnesses to testify fully and frankly, minimizes the

risk of flight, protects grand jurors from pressure and influences, and secures the privacy of

accused who are later exonerated. Douglas Oil at 218-19; In re U.S., 441 at 61.

   B. Rule 6(e) does not permit disclosure on the basis of historical significance.

        “Rule 6(e) of the Federal Rules of Criminal Procedure codifies the traditional rule of grand

jury secrecy.” U.S. v. Sells Engineering, Inc., 463 U.S. 418, 425 (1983). To that end, Section

(e)(2), titled “Secrecy,” flatly prohibits disclosure by grand jurors, government attorneys and their

assistants, and other non-witness participants “[u]nless these rules provide otherwise.” Fed. R.

Crim. P. 6(e)(2)(B). The next section, entitled “Exceptions,” limits court-ordered disclosure of

grand jury material to the following five enumerated situations:

       (E) The court may authorize disclosure—at a time, in a manner, and subject to any other
       conditions that it directs—of a grand-jury matter:

               (i)     preliminarily to or in connection with a judicial proceeding;

               (ii)    at the request of a defendant who shows that a ground may exist to dismiss
                       the indictment because of a matter that occurred before the grand jury;

               (iii)   at the request of the government, when sought by a foreign court or
                       prosecutor for use in an official criminal investigation;

               (iv)    at the request of the government if it shows that the matter may disclose a
                       violation of State, Indian tribal, or foreign criminal law, as long as the
                       disclosure is to an appropriate state, state-subdivision, Indian tribal, or
                       foreign government official for the purpose of enforcing that law; or



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                (v)     at the request of the government if it shows that the matter may disclose a
                        violation of military criminal law under the Uniform Code of Military
                        Justice, as long as the disclosure is to an appropriate military official for
                        the purpose of enforcing that law.

Fed. R. Crim P. 6(e)(3)(E).     Read together, these provisions “explicitly require secrecy in all

other circumstances” not covered by the exceptions. McKeever, 920 F.3d at 845.

        Other aspects of Rule 6(e) confirm the plain meaning of the text. For example, “[t]he list

of exceptions in Rule 6(e)(3) does not lead with the term ‘including,’ nor does it have a residual

exception.” McKeever, 920 F.3d at 845. And the specificity of the exceptions underscores the

point. For example, three exceptions, “provide that a court may authorize disclosure to certain

non-federal officials . . . to aid in the enforcement of a criminal law,” and “implicitly bar the court

from releasing materials to aid in enforcement of civil law.” Id.

        Each exception is thus “the product of a carefully considered policy judgment by the

Supreme Court in its rulemaking capacity, and by the Congress” about what social purposes justify

disclosure. Id. As the Supreme Court has emphasized, the exceptions operate as “an affirmative

limitation on the availability of court-ordered disclosure of grand jury materials,” and reflect

Congress’s “judgment that not every beneficial purpose, or even every valid governmental

purpose, is an appropriate reason for breaching grand jury secrecy.” U.S. v. Baggot, 463 U.S. 476,

479-80 (1983). Indeed, Congress directly enacted Rule 6(e)(2)’s “[u]nless these rules provide

otherwise” language in 1977, and the Supreme Court has warned that “[i]n the absence of a clear

indication in a statute or Rule, we must always be reluctant to conclude that a breach of [grand

jury] secrecy has been authorized.” Sells Eng’g, 463 U.S. at 425; accord Illinois v. Abbott &

Assocs, Inc., 460 U.S. 557, 572-73 (1983) (Although Congress “has the power to modify the rule

of secrecy . . . the rule is so important, and so deeply-rooted in our traditions, that we will not infer

that Congress has exercised such a power without affirmatively expressing its intent to do so”).

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        Petitioner does not contend that her request fits within any of Rule 6(e)’s enumerated

exceptions. Instead, she argues that the district court has “inherent authority” to release historically

significant records. ECF No. 3 at 8-10. But Petitioner does not reconcile this contention with the

text or structure of the Rule. Nor does she even acknowledge the Rule’s “[u]nless these rules

provide otherwise” language.

    C. Petitioner’s invocation of inherent power conflicts with Supreme Court precedent.

        Petitioner’s contention that the court has inherent authority to order disclosures outside the

text of Rule 6(e) is inconsistent with the Supreme Court’s admonition that a district court’s inherent

power “does not include the power to develop rules that circumvent or conflict with the rules of

criminal procedure.” Carlisle, 517 U.S. at 426. Indeed, the Supreme Court has stated that “even

a sensible and efficient use of the supervisory power . . . is invalid if it conflicts with constitutional

or statutory provisions.” Bank of Nova Scotia v. U.S., 487 U.S. 250, 254 (1988) (brackets,

citations, & quotation marks omitted).

        The Supreme Court thus has recognized that a Federal Rule of Criminal Procedure “is, in

every pertinent respect, as binding as any statute duly enacted by Congress, and federal courts have

no more discretion to disregard the Rule’s mandate than they do to disregard constitutional or

statutory provisions.” Id. at 255. And the policy judgments involved in crafting a particular rule

“may not casually be overlooked ‘because a court has elected to analyze the question under the

supervisory power.’” Id. (quoting United States v. Payner, 447 U.S. 727, 736 (1980)). An

approach to Rule 6(e) that “would allow the district court to create such new exceptions as it thinks

make good public policy” would permit precisely the sort of circumvention of the rule that the

Supreme Court has forbidden. McKeever, 920 F.3d at 845.

        Petitioner’s understanding of Rule 6(e) also “would render the detailed list of exceptions



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merely precatory.” McKeever, 920 F.3d at 845. If Petitioner is correct that these exceptions are

not exclusive, then a prosecutor could always, for example, request that a court disclose grand jury

matters to state officials for the enforcement of state civil law, even though the exceptions

“implicitly bar the court from releasing materials to aid in enforcement of civil law.” Id. And

such an approach would render largely meaningless cases like U.S. v. Pimental, which considered

whether a court could authorize federal prosecutors to disclose grand jury information to

investigators with the Massachusetts Insurance Fraud Bureau, a quasi-public entity that

investigated insurance fraud. 380 F.3d 575, 578 (1st Cir. 2004). The court’s extensive analysis of

whether those investigators qualified as “‘government personnel’ within the meaning of Fed. R.

Crim. P. 6(e)(3)(A)(ii),” id. at 579; see id. at 590-96, would be entirely academic if a district court

could always simply authorize disclosure by invoking its inherent power.

       Contrary to Petitioner’s contention, see ECF No. 3 at 9, Pittsburgh Plate Glass Co. v. U.S.,

360 U.S. 395 (1959) (Pittsburgh Plate Glass), does not support her argument that a district court

has inherent discretion to release records for reasons other than those listed in Rule 6(e). Before

stating that “Rule 6(e) is but declaratory of” the principle that whether to authorize a disclosure is

“committed to the discretion of the trial judge,” the Supreme Court in that case observed that “any

disclosure of grand jury minutes is covered by” Rule 6(e). Pittsburgh Plate Glass, 360 U.S. at 398

(emphasis added).     Indeed, Pittsburgh Plate Glass itself involved disclosure to a defendant in

connection with a judicial proceeding under one of Rule 6(e)’s enumerated exceptions. 360 U.S.

395, 397-38 (1959); see Fed. R. Crim. P. 6(e)(3)(E)(i). Thus, when discussing a court’s discretion

in Pittsburgh Plate Glass, the Supreme Court referred to the court’s discretion to grant or deny a

request within one of Rule 6(e)’s enumerated exceptions.            Finally, Pittsburgh Plate Glass

emphasized the key role of grand jury secrecy, noting that “[t]o make public any part of its



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proceedings would inevitably detract from [the grand jury’s] efficacy. Grand jurors would not act

with that independence required of an accusatory and inquisitorial body.” Id. at 400.

        The First Circuit case cited by Petitioner, In re Grand Jury Proceedings, 417 F.3d 18, 25-

26 (1st Cir. 2005), is likewise inapposite. There, the First Circuit considered whether a court could

order a witness who had “suborned perjury of a witness in a related grand jury proceeding” to

refrain from discussing a subset of matters occurring before the grand jury with anyone other than

his counsel in order to “protect[] an ongoing grand jury investigation from further abuse.” Id. at

26-27. The First Circuit held that the court had “inherent power . . . to impose secrecy orders” for

the purpose of protecting the integrity of the grand jury proceeding. Id. (emphasis added) An

inherent power to prevent disclosure to protect a grand jury proceeding is a far cry from an asserted

authority to disclose grand jury materials in circumstances not permitted by Rule 6(e).

        Although Petitioner generally cites cases from other circuits to support her position, see

ECF No. 3 at 9-10, she does not rely on them for their textual arguments.1 Nor could she. The

Second Circuit in In re Petition of Craig, 131 F.3d 99 (2d Cir. 1997), did not analyze the text of

Rule 6(e), and its conclusion is not consistent with the Supreme Court cases emphasizing that the

exceptions are exclusive and that district courts may not invoke their inherent authority to

circumvent the rules. And the Seventh Circuit in Carlson v. United States, 837 F.3d 753 (7th Cir.

2016), ignored the “plain” limiting language in Rule 6(e)(2) in concluding that the enumerated

exceptions are not exclusive. McKeever, 920 F.3d at 848-49; see Carlson, 837 F.3d at 769 (Sykes,

J., dissenting).


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  In February 2019, a divided panel of the Eleventh Circuit affirmed an order granting access to
historically significant grand jury records, relying on binding circuit precedent. Pitch v. U.S., 915
F.3d 704, 705-13 (11th Cir. 2019). But on June 4, 2019, the Eleventh Circuit vacated that opinion
and ordered that the case be reheard en banc. See Ex. 1.

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   D. The amendments to Rule 6(e) also does not support Petitioner’s position.

       The history of Rule 6(e) does not support Petitioner’s suggestion that exceptions to Rule

6(e) “generally have developed through conformance of Rule 6 to the developments wrought in

decisions of the federal courts, not vice versa.” ECF No. 3 at 9 (quoting In re Am. Historical Ass’n,

49 F. Supp. 2d 274, 286 (S.D.N.Y. 1999)). Previous amendments to Rule 6(e) have generally been

prompted by uncertainties in applying the text of the Rules as written. See, e.g., S. Rep. No. 95-

354, at 6-7 (1977) (describing “uncertainty” in text and confusion about the circumstances under

which a government attorney may disclose grand jury materials to other government personnel).

It does not follow that, merely because the Rules are amended to respond to textual ambiguities

discussed in court decisions, federal courts are therefore free to invent entirely new exceptions

without any colorable textual basis in the Rule.

       The original version of Rule 6(e) “continue[d] the traditional practice of secrecy,” Fed. R.

Crim. P. 6(e), advisory committee’s note (1944), by codifying precisely this limited discretion:

non-witness participants in the grand jury could disclose matters “only when so directed by the

court preliminarily to or in connection with a judicial proceeding or when permitted by the court

at the request of a defendant upon a showing that grounds may exist for a motion to dismiss the

indictment because of matters occurring before the grand jury.” Fed. R. Crim. P. 6(e) (1946). And

these limited powers were entirely consonant with traditional notions of inherent authority, which

exists to “improve the truth-finding process of the trial” and “prevent parties from reaping benefit

or incurring harm from violations of substantive or procedural rules . . . governing matters apart

from the trial itself.” Williams, 504 U.S. at 46. Nothing in this traditional conception of inherent

power suggests that it is a blank check to make judgments about what social ends justify the

disclosure of grand jury materials.



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       Before the advent of Rule 6(e), district courts possessed a limited authority to order the

disclosure of grand jury matters to protect the integrity of judicial proceedings. Thus, courts

sometimes exercised their authority to disclose grand jury transcripts for use to refresh the

recollection of witnesses at trial, see U.S. v. Socony-Vacuum Oil Co., 310 U.S. 150, 233-34 (1940),

or to obtain the testimony of grand jurors to support a motion to quash an indictment. See Schmidt

v. U.S., 115 F.2d 394, 395-97 (6th Cir. 1940).

       The first significant revision to Rule 6(e) occurred in 1977, when the rule was amended to

permit disclosure to government personnel who were not attorneys, recognizing that “there is often

government personnel assisting the Justice Department in grand jury proceedings.” Fed. R. Crim.

P. 6(e) advisory committee’s note (1977). Previously, the section provided for disclosure to

government attorneys “to further ‘the long established policy that maintains the secrecy of the

grand jury in federal courts.’” Id. (quoting U.S. v. Procter & Gamble Co., 356 U.S. 677 (1958)).

Two years later, Rule 6(e) was amended to mandate that proceedings be recorded to “improve[]

administration of criminal justice.” Fed. R. Crim. P. 6(e) advisory committee’s note (1979). In so

doing, it was noted that, “the proposed changes in Rule 6(e) deal only with the recording

requirement, and in no way expand the circumstances in which disclosure of grand jury

proceedings is permitted or required.” Id.

       Next, in 1983, Rule 6(e)(3)(C) was amended to allow a government attorney to disclose

matters occurring before one federal grand jury to another federal grand jury. Fed. R. Crim. P.

6(e) advisory committee’s note (1983). Two years later, the rule was amended to allow disclosure

to state and local government employees “whose assistance the attorney for the government deems

necessary in conducting the grand jury investigation.” Fed. R. Crim. P. 6(e) advisory committee’s

note (1985). In so doing, it was noted that “[i]t must be emphasized that the disclosure permitted



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is limited. The disclosure under this subdivision is permissible only in connection with the

attorney for the government’s ‘duty to enforce federal criminal law’ and only to those personnel

‘deemed necessary to assist’ in the performance of that duty.’” Id.

         It is telling that no prior amendment to Rule 6(e) was prompted by the invention by courts

of a new exception to grand jury secrecy on the scale proposed by Petitioner. Indeed, Congress

and the Supreme Court in its rulemaking capacity have regularly amended Rule 6(e) to expand the

circumstances in which disclosure is permitted. Such amendments would be unnecessary if district

courts have the authority to permit disclosures for any purpose they see fit.

         In any event, as this non-exhaustive list of amendments illustrates, Congress has taken care,

in amending the Rule over time, to carefully define which disclosures are permissible, focusing on

disclosures for the purposes of criminal law enforcement and criminal justice. Accordingly,

Petitioner is wrong to suggest that the history of Rule 6(e) supports the contention that district

courts have the authority to make policy judgments about which social purposes justify disclosure.

ECF No. 3, at 9. District courts have never possessed the inherent power to disclose grand jury

records for any purpose they saw fit.

         At the end of the day, witnesses themselves are not prevented from disclosing what

happened before the grand jury. And as explained below, nothing prevents Samuel Popkin or any

other witness from disclosing their grand jury experience to Petitioner. Popkin’s experience has

been described in detail in U.S. v. Doe, 460 F.2d 328 (1st Cir. 1972).

   II.      Special circumstances do not justify the broad disclosure requested.

         Even circuits that recognize an inherent power in the district courts to disclose matters not

listed in Rule 6(e) have cautioned that such authority is “exceedingly narrow and exists only in

exceptional circumstances.” U.S. v. Aisenberg, 358 U.S. F.3d 1327, 1347 (11th Cir. 2004)



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(vacating district court decision that had ordered disclosure of all grand jury transcripts). In

evaluating such requests, courts in these circuits have relied on the test articulated by the Second

Circuit in In re Petition of Craig, 131 F.3d 99 (1997) (Craig) (affirming the denial of a doctoral

candidate’s request to disclose the grand jury testimony of a government official accused of

espionage). The Craig factors are:

       (i)     the identity of the party seeking disclosure;

       (ii)    whether the defendant to the grand jury proceeding or the government opposes the
               disclosure;

       (iii)   why disclosure is being sought in the particular case;

       (iv)    what specific information is being sought for disclosure;

       (v)     how long ago the grand jury proceedings took place;

       (vi)    the current status of the principals of the grand jury proceedings and that of their
               families;

       (vii)   the extent to which the desired material—either permissibly or impermissibly—has
               been previously made public;

       (viii) whether witnesses to the grand jury proceedings who might be affected by
              disclosure are still alive; and

       (ix)    the additional need for maintaining secrecy in the particular case in question.

Id. at 106. The fourth Craig factor cautions against disclosure here.

       Under that factor, Petitioner’s request should be denied because it is not narrowly tailored.

Petitioner seeks to unseal “all documents chronicling, concerning, and relating to the 1971 Boston

grand juries.” ECF No. 4, ¶ 48. She “would like to see the records of this grand jury because it

constitutes a landmark in the history of the federal government’s willingness to investigate and

prosecute dissidents, scholars, journalists, and anyone else suspected of involvement with the

release and publication of classified government material.” Id. ¶ 9. “But the special circumstances



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exception is not intended for indiscriminate application.” In re Shepard, 800 F. Supp. 2d 37, 40

(D.D.C. 2011) (denying disclosure request that encompassed all the testimony and materials

associated with every witness before multiple grand juries); see Aisenberg, 358 F.3d at 1350

(explaining the district court erred by, among other things, not considering whether “the request is

structured to cover only material so needed”);2 cf. Craig, 131 F.3d at 106 (noting “there are

obvious differences between releasing one witness’ testimony, the full transcript, or merely the

minutes of the proceeding”).

       In discussing this factor, Petitioner recognizes that her request is extremely broad. See

ECF No. 3 at 16. She argues that unsealing those records “is the only way to answer [the] questions

and vindicate the public’s ‘significant . . . interest in ensuring the pages of history are based upon

the fullest possible record.’” ECF No. 3 at 16 (quoting In re American Historical Ass’n, 49 F.

Supp. 2d 274, 295 (S.D.N.Y. 1999)). While the American Historical Ass’n district court reached

that conclusion, several other courts considering that specific issue have not. Aisenberg, 358 F.3d

at 1350; Craig, 131 F.3d at 106-107; In re Shepard, 800 F. Supp. 2d at 40; cf. In re Nichter, 949

F. Supp.2d 205, 212-14 (D.D.C. 2013) (denying request to unseal all the grand jury information in

a criminal case for various reasons, including the reason that the records would not assist the

petitioner in solving the questions underlying the request). Notably, the request granted in Carlson

was much narrower than the extremely broad request presented by Petitioner—Carlson asked for

specific transcripts and did not seek to unseal the entire record. See Carlson v. U.S., 109 F. Supp.

3d 1025, 1027 (N.D. Ill. 2015), aff’d 837 F.3d 753 (2016).


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   In so doing, the Eleventh Circuit focused on the factors that are required for disclosure under an
enumerated exception to Rule 6(e). Aisenberg, 358 at 1350. It would not make sense for people
who want disclosure under an enumerated exception to be held to a higher standard than those,
like Petitioner, who seek a disclosure that is not contemplated by the rules.

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       Moreover, it is also significant that at least some of the specific information sought by

Petitioner—namely the Popkin testimony—has already been publicly aired. In 1972, the First

Circuit discussed what occurred regarding Popkin before the grand jury in holding that Popkin

should have answered some of the questions posed to him. Doe, 460 F.2d at 329-32. As Popkin

and others remain alive, see ECF Nos. 5-12, and can disclose their experiences to Petitioner, an

order disclosing all grand jury information regarding the investigation is simply not needed here.

See Aisenberg, 358 F.3d at 1352 (holding that district court erred in ordering disclosure where the

government’s conduct has already been revealed and publicly aired).

       In sum, Petitioner’s overly broad request for everything related to two grand jury

investigations is not a targeted request for specific information that is crucial to her mission and

the interest of the public.     The “special circumstances” on which courts in some circuits have

relied to release records are not present here.

                                             Conclusion

       For the reasons stated and on the authorities cited in this memorandum of law, the United

States respectfully requests that this Court deny the petition and dismiss the case under Fed. R.

Civ. P. 12(b)(1) or 12(b)(6).

                                                       Respectfully submitted,

                                                       ANDREW E. LELLING
                                                       United States Attorney


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                              CERTIFICATE OF SERVICE

    I, Annapurna Balakrishna, Assistant United States Attorney, hereby certify that this
document filed through the ECF system will be sent electronically to the registered participants
as identified on the Notice of Electronic Filing (NEF) and paper copies will be sent to those
indicated as non-registered participants.

                                                 /s/ Annapurna Balakrishna
                                                 Annapurna Balakrishna
Dated: June 14, 2019                             Assistant U.S. Attorney




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